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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR. S-07-00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING MOTION HEARING,
           v.                            )                SETTING BRIEFING SCHEDULE, AND
12                                       )                EXCLUDING TIME
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A motions hearing in this matter is now scheduled for April 6, 2009 at 10:00 a.m.
19      2.      This case involves an alleged complex scheme to defraud the Unemployment
20              Insurance System. Counsel are requesting additional time to file motions,
21              specifically a motion to suppress defendant’s statement and a motion to suppress
22              based upon the search warrant. Additional time to file motions is needed as three
23              defense counsel have been in a jury trial which began January 6, 2009, and is
24              expected to continue through the second week in April, 2009. Counsel for Ms.
25              Morales is also attempting to speak to relevant witnesses who are seasonal employees
26              and to complete investigations. All parties are in agreement that a motion hearing
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28                                                    1
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 1         should be set for August 10, 2009 at 10:00 a.m., and that time should continue to be
 2         excluded to that date for preparation of counsel (Local Code T4) as well as
 3         complexity (Local Code T2). The parties hereby request that the following briefing
 4         schedule be adopted:
 5         Motions due: June 6, 2009
 6         Opposition to Motions due: July 6, 2009
 7         Any Reply: July 13, 2009
 8         Hearing date: August 10, 2009, 10:00 a.m.
 9
     DATED: March 31, 2009           /s/ Tim Warriner
10                                   Attorney for defendant, TERESA MARIA MORALES
11
     DATED: March 31, 2009           /s/ Bruce Locke
12                                   Attorney for defendant, ENRIQUE MORALES
13
     DATED: March 31, 2009           /s/ Miguel A. Hernandez
14                                   Attorney for defendant, JOSE LUIS MORALES
15
     DATED: March 31, 2009           /s/ Clarence Emmett Mahle
16                                   Attorney for defendant, JUAN MORALES
17
     DATED: March 31, 2009           /s/ Donald P. Dorfman
18                                   Attorney for defendant, PETRA PRECIADO MORALES
19
     DATED: March 31, 2009           /s/ Matthew Stegman
20                                   Assistant U.S. Attorney
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 1                                            ORDER
 2       GOOD CAUSE APPEARING, it is hereby ordered that the motions hearing set for April
 3    6, 2009 be continued to August 10, 2009 at 10:00 a.m., and that time continue to be excluded
 4    to August 10, 2009 for preparation of counsel pursuant to Local Code T4, and complexity
 5    pursuant to Local Code T2. 18 U.S.C. 3161(h)(8)(B)(iv). The court adopts the briefing
 6    schedule as stipulated by the parties and set forth herein.
 7.
 8    DATED: April 1, 2009
 9
                                                 _______________________________________
10                                               FRANK C. DAMRELL, JR.
11                                               UNITED STATES DISTRICT JUDGE

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